          Case 1:21-cv-08186-LGS Document 102 Filed 11/23/22 Page 1 of 2


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 KRISTIN A. CARMODY, M.D., M.H.P.E.,                          :
                                              Plaintiff,      :
                                                              :     21 Civ. 8186
                            -against-                         :
                                                              :       ORDER
 NEW YORK UNIVERISTY, et al.,                                 :
                                              Defendants. :
 ------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, fact discovery closed on July 11, 2022.

        WHEREAS, on October 25, 2022, Plaintiff filed a motion for a mandatory adverse

inference, relating to Defendants’ alleged failure to preserve and produce relevant text messages

in discovery. The same day, Defendants filed a motion for summary judgment. The parties’

respective memoranda of law in opposition to these motions are due December 6, 2022.

Defendants’ reply in support of its motion for summary judgment is due December 20, 2022.

        WHEREAS, on November 3, 2022, Defendants made a supplemental production of

newly-identified text messages to Plaintiff. On November 4, 2022, Plaintiff filed a letter on ECF

regarding Defendants’ production. Plaintiff’s letter sought five forms of relief, including the

denial of summary judgment for Defendants, an order directing Defendants to properly identify

and produce text messages, further depositions, an immediate trial date, and attorneys’ fees. On

November 11, 2022, Defendants filed a response, opposing the requests. It is hereby

        ORDERED that discovery is reopened for the limited purpose of locating and producing

text messages. Defendants shall retain an e-discovery vendor to process the relevant custodians’

phones and cloud storage accounts. The parties shall negotiate in good faith over search terms to

identify relevant text messages. When the parties have agreed on search terms, Defendants shall

produce any responsive text messages to Plaintiff. The parties are directed to conduct this
         Case 1:21-cv-08186-LGS Document 102 Filed 11/23/22 Page 2 of 2


process expeditiously. Defendant shall complete supplemental productions no later than

December 16, 2022. It is further

       ORDERED that Plaintiff’s request to take further depositions is DENIED, without

prejudice to renew. Following the completion of any supplemental productions, and no later than

December 22, 2022, Plaintiff may file a letter motion to re-open discovery for the purpose of

deposing witnesses regarding the contents of any text messages produced by Defendants. Any

such motion shall identify the deponents Plaintiff seeks further discovery from, the matters to be

discussed, and the approximate time needed for further deposition. It is further

       ORDERED that Plaintiff’s other requests for relief are DENIED, including her request

that summary judgment be denied, that the e-discovery vendor produce the text messages

simultaneously to Plaintiff and Defendants, and that an immediate trial date be set. Plaintiff’s

request for attorneys’ fees is DENIED, without prejudice to renew. It is further

       ORDERED that Plaintiff’s motion for a mandatory adverse inference against Defendants

is DENIED, without prejudice to renew. Following the completion of additional discovery,

including any further depositions, Plaintiff will have the opportunity to refile her motion in its

current form or file an amended motion seeking an adverse inference and/or other forms of relief,

including attorneys’ fees. It is further

       ORDERED that the deadlines for Plaintiff’s opposition to Defendants’ motion for

summary judgment and for Defendants’ reply in further support of their motion remain the same.

Dated: November 23, 2022
       New York, New York
